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               UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT
____________________________________
                                     )
STATE OF WEST VIRGINIA, et al.,      )
                                     )
                     Petitioners,    )
                                     )
v.                                   ) No. 24-1120
                                    )  (and consolidated cases)
U.S. ENVIRONMENTAL                  )
PROTECTION AGENCY, et al.,          )
                                    )
                     Respondents.   )
____________________________________)

                   RESPONDENTS’ OPPOSITION TO
              LOUISIANA PUBLIC SERVICE COMMISSION’S
                         MOTION TO LODGE

      Intervenor Louisiana Public Service Commission improperly moves to

“lodge” two documents that are part of the administrative record in this case. Mot.,

ECF#2078154 (Oct. 3, 2024). The Commission’s belated characterizations of those

documents are an attempt to impermissibly supplement the Commission’s already-

filed opening brief. The Commission’s motion should be denied, and the arguments

in it should be disregarded.

      The Commission moves to “lodge” two record documents attached to its

motion: Attachment A, which is an excerpt from EPA’s Regulatory Impact Analysis,

and Attachment B, which is a spreadsheet with output from the Integrated Planning

Model. The Commission identifies no procedure in the Court’s rules for “lodging”

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documents, and there is none. Rather, the proper way to submit record documents to

the Court is by including them in the deferred joint appendix. Fed. R. App. P. 30(c);

Statement of Intent to Utilize Deferred Joint Appendix, ECF#2058804 (June 10,

2024).

      The Commission’s claim that the spreadsheet in Appendix B is a non-record

document does not justify the motion, and besides, it is wrong. That spreadsheet,

along with other output spreadsheets from the Model, is part of the administrative

record as an attachment to document number EPA-HQ-OAR-2023-0072-8397. See

Certified Index 265, ECF#2058471 (June 7, 2024); https://www.regulations.gov

/document/EPA-HQ-OAR-2023-0072-8397 (attachment titled “Baseline SSR”).

The record version of the spreadsheet is titled “Baseline,” whereas the version that

the Commission obtained from EPA’s website and filed as Attachment B is titled

“2023 Reference Case,” but the contents of the spreadsheet are identical. The

reference case is just another term for the baseline. See IPM Documentation, EPA-

HQ-OAR-2023-0072-8396, Ch.1 at 1-1 to 1-2, Ch. 3 at 3-29 (identifying the

legislation and regulations considered in the reference case, which do not include

the   Rule   under   review   here),   https://www.epa.gov/power-sector-modeling

/documentation-2023-reference-case. Even if the Commission were correct that

Appendix B is a non-record document, however, that still would not justify its

“lodging.” Either a document is part of the record, in which case it should be

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included in the deferred joint appendix, or it is extra-record, in which case the Clean

Air Act prohibits its consideration. 42 U.S.C. § 7607(d)(7)(A). The Commission’s

motion is improper either way.

      The characterizations of the two documents in the Commission’s motion

constitute impermissible supplemental briefing and should be disregarded. EPA

certified the administrative record four months ago. Certified Index, ECF#2058471

(June 7, 2024). By the Commission’s own admission, these documents were

available when the Commission filed its brief, but the Commission simply failed to

review the record. Mot. ¶ 2. “[T]ime constraints” and a “voluminous record,” id., do

not excuse a party from its obligation to raise all arguments in its opening brief. The

Commission joined the other parties in proposing the briefing schedule that it now

claims provided inadequate time to review the record. See Petitioners’ and

Petitioners-Intervenors’ Joint Proposed Briefing Schedule and Format 1,

ECF#2068114 (Aug. 2, 2024). Nothing in the Court’s rules allows the Commission

to circumvent the court-ordered briefing deadline and word limit, Order,

ECF#2069206 (Aug. 9, 2024), by belatedly adding new arguments to its briefing in

the guise of a motion to lodge.

      The Commission’s impermissible supplemental arguments lack merit

anyway. To start, the Commission misunderstands the spreadsheet in Appendix B,

which reflects EPA’s baseline projection of the electric sector without the Rule.

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Supra p.2. Appendix B projects that in a world without this Rule, a low number of

new coal and combined-cycle gas plants will be built with carbon capture and storage

(“CCS”). 1 That says nothing about the potential effects of the Rule under review.

The Commission repeats that mistake when it quotes language from the Rule’s

preamble that “[n]ew combined cycle builds are 20 [gigawatts] by 2030”—a

statement that again characterizes EPA’s baseline projection, not a scenario that

considers the Rule’s potential effects. Mot. ¶ 2 (quoting 89 Fed. Reg. 39798, 40005

(May 9, 2024)).

      The Commission also draws an unsupported conclusion from Appendix A. In

Appendix A, EPA projected that, under one illustrative scenario that does take the

Rule into account, 19 gigawatts worth of coal plants and 870 megawatts worth of

combined-cycle gas plants will install CCS. 2 Mot. App. A at 3-27 to -28, 3-31. The


1
 In Appendix B, that number is rounded down and represented as zero. Mot. App.
B. But in fact, the Rule’s preamble noted that some projects for new gas plants with
CCS have already been announced. 89 Fed. Reg. 39798, 39927-28 (May 9, 2024).
That is real-world evidence that CCS-based requirements can be met.
2
  The Commission points to the Model’s projection that, considering the potential
effects of the Rule, one gigawatt of coal generation will be operating with CCS by
2045. Mot. ¶ 4 (citing Mot. App. A at 3-32). But as EPA explained in the record, the
Model projected much higher numbers in 2035 and 2040. Mot. App. A at 3-31 to 3-
32. Although the Model projects a drop in 2045 due to the expiration of CCS tax
credit under 26 U.S.C. § 45Q (which, under current law, is available to plants for
twelve years), EPA explained that “these projected outcomes [for 2045] are far from
certain as the modeling results generally do not account for numerous potential
changes that may occur over the next 20 or more years, any of which may enable
these units to continue to operate economically for a longer period.” 89 Fed. Reg. at
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Commission is incorrect that EPA’s achievability and cost-reasonableness

determinations for CCS were “drawn based on” these projections in the Regulatory

Impact Analysis. Mot. ¶ 2. EPA’s achievability and cost-reasonableness

determinations were based on other record justifications. See 89 Fed. Reg. at 39845-

83, 39924-35.

      In any case, Attachment A reflects that some coal and gas plants will install

CCS under a modeled scenario with the Rule in effect, which is inconsistent with

the Commission’s claim that the Rule’s CCS requirements are unreasonably costly.

To the extent the Commission is arguing that CCS-based requirements are

unreasonable in cost because EPA has not projected more CCS installation, that

argument misunderstands the modeling. The modeling projects the “least-cost

decisions” that power plant operators will make. Mot. App. A at 3-28. Even cost-

reasonable requirements can “marginally increas[e] the cost of doing business in a

competitive market,” so that while some operators will install the controls, others

may choose other compliance strategies. 89 Fed. Reg. at 39900; see also EPA,

Response to Comments, Ch. 2 at 36, https://www.regulations.gov/document/EPA-

HQ-OAR-2023-0072-8914. That does not mean that CCS-based requirements are

unachievable or unreasonable in cost.



39900. In any case, EPA has committed to review and if appropriate revise this Rule
by 2041. Id.; see also id. at 40056 (40 C.F.R. § 60.5795b).
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      For the reasons above, the Commission’s motion should be denied, and the

impermissible supplemental arguments in it should be disregarded.


                                      Respectfully submitted,

                                      TODD KIM
                                      Assistant Attorney General

                                        /s/ Tsuki Hoshijima
                                      ERIC G. HOSTETLER
                                      CHLOE H. KOLMAN
                                      TSUKI HOSHIJIMA
                                      ELLIOT HIGGINS
                                      U.S. Department of Justice
                                      Environment and Natural Resources
                                         Division
                                      P.O. Box 7611
                                      Washington, D.C. 20044
                                      (202) 532-3285 (Hoshijima)
                                      tsuki.hoshijima@usdoj.gov


                       CERTIFICATE OF COMPLIANCE

      This document complies with the word limit of Federal Rule of Appellate

Procedure 27(d)(2) because, excluding the parts of the document exempted by

Rule 32(f), it contains 1,129 words. This document complies with the typeface and

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fourteen-point font.

                                             /s/ Tsuki Hoshijima

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                         CERTIFICATE OF SERVICE
      On October 15, 2024, I filed the foregoing using the Court’s CM/ECF

system, which will electronically serve all counsel of record registered to use the

CM/ECF system.

                                              /s/ Tsuki Hoshijima




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